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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.                                                  Case No 11-80205-CR-MARRA/HOPKINS

  MITCHELL J. STEIN,

                      Defendant.



                                          SCHEDULING ORDER

            It is hereby ORDERED that the parties’ Joint Motion for a Scheduling Order is granted

  and this Court’s prior orders in this case are modified as follows:

       1)     Defendant’s resentencing hearing is rescheduled for July 19 and 20, 2018.

       2)     The parties shall exchange witness lists identifying the individuals whom they expect

              to call to testify at sentencing not later than May 4, 2018.

       3)     Each side shall be permitted to file a single sentencing memorandum, not to exceed 25

              pages in length (exclusive of exhibits). Such memoranda shall be filed not later than

              June 1, 2018. Should either party wish to file a brief in response to the opposing

              party’s sentencing memorandum, such brief shall not exceed 15 pages in length and

              shall be filed not later than June 8, 2018.

       4)     The parties shall disclose to one another the following information regarding any

              experts they have retained or will retain to testify at or otherwise assist them at or in

              preparation for sentencing not later than March 23, 2018:

                 a.      The full and correct name, address, telephone number, and email address of

                         each such individual;




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               b.   The qualifications of each such individual, in the form of a resume or

                    curriculum vitae; and

               c.   A written summary of the testimony by each such individual that the

                    sponsoring party intends to use at sentencing; this summary must describe each

                    such individual’s opinions and the bases and reasons for those opinions.

       5)   To the extent any such individual produces a written report setting forth his

            conclusions or opinions, the sponsoring party shall disclose to the opposing party that

            written report not later than April 6, 2018.

       6)   Any experts the parties retain to testify in rebuttal to experts disclosed pursuant to

            paragraphs (4) and (5) shall be disclosed to the opposing party not later than April 27,

            2018, in the same form as described in paragraph (4), and to the extent any such

            individual produces a written report setting forth his conclusions or opinions, the

            sponsoring party shall disclose to the opposing party that written report not later than

            May 10, 2018.


  DONE AND ORDERED at West Palm Beach, Florida, this 24th day of January 2018.




                                                              KENNETH A. MARRA
                                                              United States District Judge




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